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EXHIBIT 4
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1
1 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
2
Case No. 19-21148-CIV-RNS
3
BRYAN BOIGRIS, )
4 )
PLAINTIFF, )
5 )
—-V— )
6 )
EWC P&T, LLC, )
7 )
DEFENDANT. ) Miami, Florida
8 ) October 11, 2019
)
9
10 TRANSCRIPT OF DISCOVERY HEARING PROCEEDINGS
11 BEFORE THE HONORABLE EDWIN G. TORRES
12 UNITED STATES MAGISTRATE JUDGE
13
14 Appearances:
15 (On Page 2.)
16
17 Reporter Stephen W. Franklin, RMR, CRR, CPE
(561) 514-3768 Official Court Reporter
18 701 Clematis Street
West Palm Beach, Florida 33401
19 E-mail: SFranklinUSDC@aol.com
20
21
22
23
24
25

 

 

 
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2

 

il Appearances:
2 FOR THE PLAINTIFF: Patrick G. Dempsey, ESQ.
Hirzel, Dreyfuss and Dempsey
3 Brickell Bay Club
Suite A-1
4 2333 Brickell Avenue
Miami, FL 33129
FOR THE DEFENDANT Jonathan R. Woodard, ESQ.
6 Malloy & Malloy, PL

2800 Southwest 3rd Avenue
7 Miami, FL 33129

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1 so we just didn't bother to seek them. They are real damages,
2 but we just didn't list them as an element, because we knew
3 that a business that's just getting off the ground, just
4 getting started, looking for potential investors, there was
5 serious real damage there, but we know that it will be too
6 speculative for this Court to award damages on that, so
7 THE COURT: And so then in terms of real or out of

8 pocket damages, wouldn't the cost of any litigation, then, for

9 the PTO be potentially recoverable if your claim succeeds?

10 MR. DEMPSEY: That's what we —-- that's our position
11 on damages, yes.

12 THE COURT: And so then you didn't have to produce
13 those? The -- I guess the time records and/or bills, invoices
14 that were incurred or costs incurred in connection with that

15 process?
16 MR. DEMPSEY: Yeah. Yes, Your Honor.
17 I think, though, that for the purposes of not

18 revealing what the litigation strategy was and things like

19 that, we can produce them in redacted form that -- so they
20 don't show exactly what we were doing, and the unredacted
21 versions could be reviewed after we prevail on the Court
22 action.

23 It would be similar to a claim for seeking of

24 attorney's fees and costs.

25 THE COURT: But in this case, though, it's an

 

 

 
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1 element of damage if you're going to seek costs, right? If
2 you're going to seek —- if your argument that out of pocket
3 costs that were a result of this, what you call a predatory

4 conduct of the defendant, and other than the litigation
5 itself, but the only other out of pocket costs I can think of

6 would be pursuing or defending the PTO action, right?

7 MR. DEMPSEY: Primarily, yes.

8 THE COURT: Yeah. So don't you have to produce
9 that?

10 I suppose if there's a privilege communication

11 reflected in there. But other than that, is there anything

12 else privileged in there?

13 MR. DEMPSEY: I -—-- well, I mean, there -- they --
14 the billing entries we try to be somewhat detailed to inform
15 our clients what we're billing them for, and so I do think

16 that --

17 THE COURT: Well, I understand some redaction would

18 be appropriate, but obviously if it just says conference with

19 a client, then you wouldn't need to redact that.

20 MR. DEMPSEY: I would agree.
21 THE COURT: Right?
22 So if you don't -- in other words, you have to

23 produce that if you're going to seek that as a damage in the
24 case. Now, if you're not seeking damages as a practical

25 matter it's really more of a dec. action.

 

 

 
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1 MR. DEMPSEY: It's primarily a dec. action.
2 THE COURT: In that case, then, that's fine. Then
3 just drop your damage claim, and you don't have to worry about
4 six. But I think I have to compel six in addition to five.
5 Now, if there -- if you ultimately decide we won't

6 pursue any out of pocket damages, that's fine. Then that

7 moots six. But as of now, I have to compel that.

8 With regard to seven -—-

9 MR. DEMPSEY: Seven and eight were ones where we --
10 THE COURT: now, here you agree to produce. Do they
11 now exist?

12 MR. DEMPSEY: Uh, well, so some documents have been

13 produced already. They're in their possession from the

14 previous case. That's what this is referencing.

15 THE COURT: Right.

16 MR. DEMPSEY: It's also going beyond that.

17 We are looking for additional documents. My clients
18 have informed me that they've been able to assemble a few

19 additional documents that I'm going to review and produce as
20 soon as possible. And so we, again, these requests are

21 requests that we are more than happy to respond to, because
2. they're seeking documents that are supportive of our claims,
23 and —-

24 THE COURT: Okay.

25 MR. DEMPSEY: -—- unfortunately, some of those

 

 

 
